                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

JAMES GORDON,                  )
                               )
     Plaintiff,                )
                               )
v.                             )            Case No. ________________
                               )
MORGAN & MORGAN, P.A. and )                  JURY TRIAL DEMANDED
MORGAN & MORGAN,               )
JACKSONVILLE, PLLC             )
                               )
     Defendants.               )
______________________________ )

                                 COMPLAINT

COMES NOW Plaintiff James Gordon ("Plaintiff" or "Mr. Gordon"), through

undersigned counsel, and files his Complaint against Defendants Morgan & Morgan,

P.A. and Morgan & Morgan, Jacksonville, PLLC (collectively "Defendants" or "the

Firm") and states as follows:



                                    PARTIES

   1. Plaintiff James Gordon is a natural person and resident of Jacksonville,

      Florida. At all relevant times, Plaintiff was an employee of Defendants within

      the meaning of Title VII, the ADA, and Florida Civil Rights Act, and
   conducting his employment services in Defendant’s Jacksonville office

   location.

2. Defendant Morgan & Morgan, P.A. is a professional association law firm,

   providing plaintiffs’ representation in inter alia civil rights law, employment

   law, and personal injury matters and organized under Florida law with its

   principal place of business in Orlando, Florida. At all relevant times,

   Defendant was an employer within the meaning of Title VII, the ADA, and

   Florida’s Civil Rights Act, employing more than 500 employees, and is

   engaged in an industry affecting commerce.

3. Defendant Morgan & Morgan, Jacksonville, PLLC (“MM Jacksonville”) is

   the Jacksonville, Florida branch office of Morgan & Morgan, P.A. Plaintiff

   worked in Defendant MM Jacksonville in person, except for the period of

   time between 2020-2021 when the firm transitioned to remote work during

   Covid. Plaintiff’s supervising attorneys Michael Marrese and Jody Wade

   also worked in MM Jacksonville office during the relevant time. At all

   relevant times, Defendant MM Jacksonville was an employer within the

   meaning of Title VII, the ADA, and Florida’s Civil Rights Act, employing

   more than 15 employees, and is engaged in an industry affecting commerce.




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                       JURISDICTION AND VENUE

4. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, as

   this action arises under federal law, specifically Title VII of the Civil Rights

   Act of 1964, as amended ("Title VII"), 42 U.S.C. § 2000e, et seq. and the

   Americans with Disabilities Act of 1990, as amended, ("ADA"), 42 U.S.C. §

   12101 et seq.

5. This Court has supplemental jurisdiction over Plaintiff's state law claims

   pursuant to 28 U.S.C. § 1367(a).

6. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

   wrongful acts and omissions of Defendants giving rise to this action occurred

   within this judicial district, Defendants are deemed to reside in this District

   pursuant to 28 U.S.C. § 1391(c)(2), and Defendants operate and conduct

   business within this judicial district.


                   ADMINISTRATIVE PREREQUISITES

7. Plaintiff timely filed a Charge of Discrimination with the Equal Employment

   Opportunity Commission ("EEOC") on or about December 12, 2022.

8. The EEOC issued a Notice of Right to Sue on November 29, 2024, and this

   action is filed within ninety (90) days of receipt of that notice.




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9. All conditions precedent to bringing this action have been performed or have

   occurred.


                      FACTUAL ALLEGATIONS

10. Plaintiff Gordon was employed by Defendants in 2002 in the Jacksonville,

   Florida office as a case manager and worked continuously in that capacity

   until 2013.

11. After a brief period away, Mr. Gordon was actively recruited from his then-

   employer to return to Defendants in early 2015 by partner Greg Prysock, and

   supervising attorneys Michael Marrese and Donny Owens, due to his

   excellent performance and expertise.

12. Throughout his nearly twenty-year career with Defendants, Mr. Gordon

   consistently performed his duties at or above expectations. His exemplary

   performance was recognized by firm principal John Morgan himself at a firm

   Christmas event, where Mr. Morgan authorized a special $10,000 bonus for

   Mr. Gordon, which was provided to him the following workday.

13. Upon Plaintiff's return to Defendants, his second supervising attorney Mr.

   Wade regularly praised his performance, including via text message, giving

   him his earned case management bonuses and adding additional amounts for

   Mr. Gordon "because of the effort" and thanking him for "the hustle."



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14. Even in the weeks leading up to Defendants’ termination of Mr. Gordon’s

   employment in early 2022, Mr. Gordon's supervising attorney Mr. Marrese

   awarded him a $5,000 performance bonus for 2021 and was paying him an

   additional $500 monthly performance incentive from January to March of

   2022. In April of 2022, just before terminating Plaintiff, Defendants paid Mr.

   Gordon a $750.00 performance bonus.

15. Mr. Gordon is a devout Christian whose sincerely held religious beliefs

   prohibit him from knowingly harming his body or being reckless with

   substances that could harm his physical body as the "temple of the Holy

   Spirit."

16. Mr. Gordon further believes that God is his Creator and Healer, including with

   regard to physical disease and illness, and that he must follow God’s will and

   law over human perceptions and medical expertise, if the two are in conflict.

17. Mr. Gordon’s personal faith in Jesus Christ was known to the principals of

   Defendants, specifically John Morgan and Mr. Prysock, as well as other

   attorneys and staff and was a topic of conversation at a firm-wide Christmas

   party prior to Plaintiff’s first resignation from Defendants’ employ in 2013.

18. Mr. Gordon suffers from an autoimmune chronic inflammatory condition

   affecting his skin and joints and that induces physical limitation and mobility,

   detrimentally affecting daily activities.


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19. During the COVID-19 pandemic, Defendants’ offices across Florida

   transitioned to a work-from-home model through early 2021. Mr. Gordon

   received email notices from Defendants regarding the general success of the

   remote work model, noting no reduced revenues, but increased revenues, as

   office expenses decreased during that period of time.

20. Thus, as offices across the state were reopening, Defendants weighed the

   options of continuing some remote work for employees who sought to

   continue the option with appropriate paperwork submitted.

21. Mr. Gordon first sought to continue in remote work in April 2021 because of

   his autoimmune-based disability, upon solicitation from Defendants to submit

   his request as a potentially eligible employee. On April 16, 2021, Defendants

   denied the request, as failing to specify how his disability “is effected [sic] by

   COVID.”

22. Mr. Gordon resubmitted his disability accommodation, dated April 20, 2021,

   from Dr. Michael Perry, specifying that “Due to the autoimmune nature of his

   chronic condition, Mr. Gordon is at a higher risk of contracting infectious

   diseases including COVID-19.”

23. The next day, April 21, 2021, a firm-wide email from principal John Morgan

   abruptly halted Defendants’ disability accommodations discussions with

   Plaintiff, as Mr. Morgan dictated Defendants’ new policy: “A very few people


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   have asked to continue to work from home. I am sorry to say that will not be

   happening. We are not equipped to support both at home and in office

   work….If you are determined to work from home it won’t be with our firm.

   Please let us know so we can be moving to replace you.”

24. In the same email, Morgan also noted “I would also like any of you who have

   not been able to get a vaccine to call me directly so I can arrange it. My entire

   family and extended family are now vaccinated.”

25. Defendants never discussed further accommodations with Plaintiff for his

   disability, and never provided alternative options for accommodation at any

   time.

26. Mr. Gordon was forced to return to in-person work at the Jacksonville office

   of Defendants by May 3, 2021. As a result of this change, Mr. Gordon had to

   purchase a car and increase his family expenses significantly, including gas

   and travel costs, as well as food costs.

27. On May 14, 2021, John Morgan began an aggressive email campaign

   targeting unvaccinated employees and creating a work culture hostile to

   Plaintiff with his disability and religious beliefs affecting his ability to obtain

   COVID-19 shots.

28. Mr. Morgan's emails contained explicit discriminatory and harassing content,

   repeatedly comparing COVID-19 non-vaccination to frightened dogs,


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irrational fears, and mental illness.    The emails included the following

statements:

   a. May 16, 2021 – “There are quacks on both sides of this….Beginning

      tomorrow the vaccinated will be allowed to work with no mask….Many

      law firms mandated that all employees be vaccinated before they return

      to work. We disagreed with this approach. It is your body and your

      health and any fears you may have are real. I have an irrational fear of

      heights so I understand fear.”

   b. August 4, 2021 – “I want all of you to know that for those of you who

      do not choose to be vaccinated we are not judging you. Fear is real.

      Whether imagined or real. Some of us believe in ghosts. Ghosts scare

      me.”

   c. August 4, 2021 – “There are many reasons for not being vaccinated

      politics, irrational fears and genuine concerns. Some people will never

      get on a plane……….ever. Many of my Kentucky cousins will not

      fly….”

   d. August 4, 2021 – “Some religious folks handle rattle snakes and are not

      vaccinated. Making sense of so many people is impossible”

   e. August 4, 2021 – “My little sister is petrified to fly. She is like my dogs

      on the fourth of July when she is in and [sic] airport and ready to board.


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   Under the table. She takes a valium before she leaves home and guzzles

   bloody Mary’s at the airport. Really embarrassing…..As I said fear is

   real and we understand it is….Morgan’s don’t ride motorcycles or

   handle rattle snakes at church………………but I’m fine if you want to.

   Just don’t bring the snakes in my car.”

f. August 23, 2021 – “But we do know that 95% of all Covid deaths are

   the unvaccinated and it is a very painful death. A vaccine is not 100%

   to block Covid but the alternative seems foolish….” “I pray you get

   it.”

g. August 25, 2021 – “We have been inundated by so many coworkers

   who are afraid to be with the unvaccinated. Thank God many of you

   now are….By and large almost everyone who dies or who is critically

   ill is the unvaccinated….”

h. August 25, 2021 – “As I mentioned in an earlier email some people

   have a deathly fear of flights. That fear is real and your fear is real or

   in some cases just political….There are some who are unvaccinated but

   have no trouble handling venomous snakes in religious ceremonies.”

i. August 25, 2021 – “I can’t let fears which I deem unfounded dictate

   what I do for the safety and welfare of the vast majority. Children are

   now in ICUs. We can bring it home to them.”


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j. August 25, 2021 – “For those of you who are not [getting the shot]

   because your spouse will be mad……….what they don’t know doesn’t

   hurt them.”

k. September 2, 2021 – “The cost to our insurance is staggering….I don’t

   judge anyone because of their fears.      The vast majority of those

   unvaccinated are the undereducated and those with strong political

   beliefs.”

l. September 7, 2021 – “It is really simple. Please get vaccinated.”

m. September 28, 2021 – “In Orlando I terminated a paralegal who refused

   to always wear a mask…. We are in a fucking pandemic. More people

   have died from this than the Spanish Flu pandemic. Most all of us are

   vaccinated….We have people working in our offices who are scared

   for their lives because some are not.”

n. September 28, 2021 – “I have hoped that watching all of this death may

   prod you into the vaccination for yourself and for your family. I have

   come from a place of love and concern. But when you decide to say

   ‘fuck you’ to your vulnerable coworkers it’s time for you to go. I can’t

   imagine what people are thinking. Some people just don’t want to be

   told what to do I guess….But my choice is to protect my firm from your

   recklessness or sincere fear.”


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    29. In August 2021, Defendants implemented a firm-wide COVID-19

       vaccination policy that mandated vaccination for all employees, following a

       firm-wide “survey” of COVID-19 vaccination status of all employees.

    30. On August 4, 2021, Morgan announced the discriminatory policy that he

       directed "HR to hire no more staff or attorneys who are not vaccinated" and

       stated the firm would become "fully vaccinated over time."

    31. On August 25, 2021, he affirmed Defendants’ policy was a COVID-19

       mandate: “I know making this mandate will cause us to lose great talent and

       friends….And I care enough about you to warn you. It is easier to get a job

       with a job.”1

    32. John Morgan speaking on behalf of Defendants asserted that religious beliefs

       and racial differences informed individual employees’ choice with regard to

       COVID-19 vaccination. “Interesting and ironic is the people most likely to be

       unvaccinated are evangelicals who voted Trump and African Americans and

       Hispanics.”


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  Defendants’ discriminatory intent in the application of the COVID-19 vaccination
mandate against Plaintiff Gordon is evidenced by John Morgan’s personally terminating
Devon Hitch, another unvaccinated employee with a disability requiring medical
accommodation based on her Mayo Clinic doctors’ recommendation. On September 30,
2021, Mr. Morgan summarily terminated Hitch via email with one day's notice, explicitly
stating it was because she "made up [her] mind" not to get vaccinated. Mr. Morgan
expressly refused to consider any accommodations for Hitch. Mr. Morgan also pressured
Ms. Hitch to provide her doctors’ information to him, claiming that they gave her “false
advice,” and that he had “a call in to alert the hospitals [her doctor] is affiliated with of the
advice he is giving” because “[w]e can’t have a guy like that out there.”

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33. Defendants expressly rejected any option for accommodation against

   COVID-19 vaccination, and strictly enforced the policy for both current

   employees and applicants, contrary to federal and Florida law, which require

   options by employers for employee accommodation procedure.

34. Notwithstanding the position of Defendants regarding accommodations, Mr.

   Gordon submitted his doctor’s documentation again on August 24, 2021,

   regarding his need for disability accommodation from COVID-19 vaccination

   and masking.

35. At no time did Defendants inquire regarding Mr. Gordon’s accommodations

   requests, begin any interactive process regarding possible accommodations

   from its policies, nor request additional paperwork regarding Mr. Gordon’s

   asserted accommodations.

36. When asked whether he had submitted his vaccination verification, Mr.

   Gordon asserted both religious and medical need for accommodations against

   COVID-19 vaccination and masking on October 21, 2021.

37. Defendants did not expressly deny Plaintiff’s accommodations requests.

38. Mr. Gordon’s supervising attorney Mr. Marrese came to Mr. Gordon’s office

   in the end of 2021 stating that Mr. Gordon needed to find another job because

   Defendants were going to terminate his employment.




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39. Mr. Marrese also frequently asked Mr. Gordon about his COVID-19

   vaccination status, and disregarded any protected basis for Mr. Gordon to seek

   exemption and accommodation from the mandate.

40. Defendants simply ignored Plaintiff’s requested accommodations, in

   contravention of federal and state law.

41. Toward the end of January 2022, Mr. Gordon had a medical crisis requiring

   use of sick leave for recovery. He provided proper notice to his supervising

   attorney and came in to work with a donut seat cushion, despite being in great

   pain.

42. On February 23, 2022, Defendants through HR Director Tonya Williams

   demanded that Plaintiff wear a mask and asserted that if he did not, he would

   be “asked to leave the office.”

43. Instead of engaging in any interactive process regarding accommodations,

   Defendants began a campaign of coercion, one week later.

44. Suddenly, for the first time in two decades of work with Defendants, on

   March 3, 2022, the Firm disciplined Mr. Gordon ostensibly for violating an

   attendance policy, citing “tardiness” and “insufficient amount of work hours.”

   Since Plaintiff’s supervising attorney could provide no current policy against

   which the discipline was issued, Mr. Gordon refused to sign the “Employee

   Warning Report.”


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45. The purported attendance policy to which the discipline referred was not

   issued to Plaintiff until nearly two weeks later on March 14, 2022.

46. Prior to March 14, 2022, case managers employed by Defendants were never

   restricted to specific hourly periods of work, as salaried employees who could

   work the schedule as agreed by supervising attorneys.

47. On March 10, 2022, Mr. Gordon also had a serious family emergency for

   which he requested emergency leave from his supervising attorney Mr.

   Marrese, who did not object to the use of leave.

48. The March 14, 2022, scheduling policy ostensibly required selection of

   specific hourly schedules for all employees in the Jacksonville office, but

   Jennifer Perrow, a trainer in the office told Mr. Gordon that it was a policy

   only applicable to hourly wage employees and would not be relevant to him

   as a salaried case manager. Indeed, other case managers in the Jacksonville

   office were not complying strictly with any hourly schedule pursuant to the

   March 14 new policy.

49. Again, on May 10, 2022, Mr. Gordon was presented with written discipline

   purporting to be related to the March 14, 2022 schedule policy, but he was

   denied an opportunity to review the discipline before signing, and he did not

   sign it.




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50. Based on that May discipline, Defendants suspended Mr. Gordon for two

   days, and reduced his paycheck by $450.00.

51. When he returned to the office on May 13, 2022, Mr. Marrese informed

   Plaintiff that he had been searching for new employment for Mr. Gordon, and

   provided him a vacancy notice at Citizens Insurance, asserting that the salary

   was better than his then-salary with Defendants. Mr. Marrese pressured Mr.

   Gordon for an answer whether he would voluntarily resign and leave the firm.

52. When Mr. Gordon returned to the Firm in 2015, Defendants and Mr. Gordon

   agreed to specific arrangement regarding his paid time off (“PTO”) that he

   would receive 6.769 hours of PTO per biweekly pay period, which would rise

   to earning 8.308 hours of PTO in September 2017.

53. However, since 2019, Defendants failed to calculate Plaintiff’s accruing PTO

   and persisted in awarding zero PTO hours to Mr. Gordon, contrary to their

   agreement and the Firm’s own Employee Handbook policies.

54. Only in April 2022, did Defendants correct this nearly three year PTO

   discrepancy, placing PTO 400 banked hours in Mr. Gordon’s employment

   file.

55. Thus, when Mr. Marrese increased pressure on Plaintiff to resign from the

   Firm in early May, he also assured Mr. Gordon that if he would voluntarily




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   resign, Defendants would allow him a severance package that included only

   half of his banked and newly returned PTO in cash.

56. On May 16, 2022, Mr. Marrese called Mr. Gordon into his office and again

   demanded an answer to whether Plaintiff would voluntarily resign from

   Defendants’ employ. When Mr. Gordon yet again confirmed he would not

   resign, Mr. Marrese expressed his surprise that Mr. Gordon, as a Christian,

   would make the choice not to get COVID-19 vaccination and continue to work

   at the Firm.

57. In the early afternoon, after that meeting, Plaintiff was again summoned, this

   time to Defendants’ partner Jason Miller’s office, together with Mr. Marrese

   and HR Ms. Williams. Mr. Gordon was asked to respond to the two prior

   written disciplines issued against him, and he asked to be transferred to a

   different supervising attorney.

58. Mr. Gordon’s request was denied. In the same meeting, Mr. Gordon was

   again offered a severance including half of his banked and recently returned

   PTO in cash, and told if Defendants terminated his employment, he would get

   none of that PTO in cash.

59. Mr. Gordon asked for time to consider the option, but within less than an

   hour, he was provided termination paperwork, including a Release for his

   signature, which he did not sign, and he was escorted out of the building.


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60. Nine days after Plaintiff refused to resign voluntarily and sign the Release,

   Defendants continued with their preparation of a pretextual basis for their

   unlawful termination of Mr. Gordon on grounds of religious and disability

   discrimination.

61. On May 27, 2022, by email, Mr. Marrese expressly asked Defendants’ staff

   member Aaron Goins to “Give me email about james’ litify lies.”

62. Litify was software Defendants had been trying to implement for case

   management across the firm for three years from 2019 up until Plaintiff was

   terminated from his employment. Prior to Litify, the Firm used Client Profiles

   case management software.

63. The Litify software system was not fully operational and had documented

   synchronization problems affecting all employees through September 2022.

   It failed to track critical case management matters, including deadlines,

   payments, and client communications.

64. Up through Mr. Gordon’s employment termination in May 2022, he had

   entered and tracked his case data in both Client Profiles and Litify since 2019

   because Litify was not functioning properly, and the two systems would not

   synchronize or transfer data properly. Thus, Litify failed to automate most of

   the functions it had been implemented by Defendants to streamline and

   automate for the Firm.


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65. Mr. Goins’ response to Mr. Marrese on May 27, 2022 regarding Plaintiff’s

   cases in Litify indicated that he found cases managed by Mr. Gordon that

   lacked proper updates in the system, and he accused Mr. Gordon of entering

   fraudulent data to game the system “to inflate his case count” and “trick the

   system into thinking they are updated.” Mr. Marrese then sent the email

   regarding Litify data to Mr. Miller and Ms. Williams in HR “For James’

   employment file.”

66. Plaintiff’s counsel, on his behalf, sent a demand letter to Defendants through

   partners Jason Miller and John Morgan on July 4, 2022, outlining the material

   facts herein alleged and asserting that the Firm had violated Mr. Gordon’s

   civil rights under federal and state law. The letter also provided notice of legal

   action and an obligation to preserve evidence that related to the facts and

   claims made.

67. The following day, July 5, 2022, Plaintiff’s former supervising attorneys

   exchanged emails; Mr. Wade wrote to Mr. Marrese “Re James…I was of a

   mind to fire him myself not long after he became my case manager. Had I

   any other option during the time he was with me I would have taken it.” He

   further denigrated Plaintiff’s performance and character - contrary to his

   correspondence with Mr. Gordon at the time of his employment – that Mr.

   Gordon was allegedly “unwilling to make a concerted effort to meet any goal,


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   uninterested in meeting a minimum effort level-let alone excelling in any way,

   unaccountable to his clients as he was rarely willingly speaking with

   them….He came late every day, left early, and barely worked while he was

   there.”

68. Mr. Marrese forwarded Mr. Wade’s email to Defendants’ HR team the same

   day.

69. Plaintiff promptly filed his claims before the Florida Commission on Human

   Relations, but withdrew the charge, opting to refile the claims before the

   EEOC in December of 2022.


                               COUNT I
            Disability Discrimination In Violation of the
  Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12111, et seq.

70. Plaintiff incorporates by reference paragraphs 1-69 as if fully set forth herein.

71. The Americans with Disabilities Act (“ADA”) prohibits discrimination

   “against a qualified individual on the basis of disability in regard to job

   application procedures, the hiring, advancement, or discharge of employees,

   employee compensation, job training, and other terms, conditions, and

   privileges of employment.”       42 USC § 12112(a).        Such discrimination

   includes “(b)(1) limiting, segregating, or classifying a job applicant or

   employee in a way that adversely affects the opportunities or status of such



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   applicant or employee because of the disability of such applicant or

   employee;” and “(b)(5)(A) not making reasonable accommodations to the

   known physical or mental limitations of an otherwise qualified individual with

   a disability who is an applicant or employee, unless such covered entity can

   demonstrate that the accommodation would impose an undue hardship on the

   operation of the business of such covered entity.”

72. Disability is defined by the ADA as including “(A) a physical or mental

   impairment that substantially limits one or more major life activities of such

   individual; (B) a record of such impairment; or (C) being regarded as having

   such an impairment….” 42 USC § 12102(1). Major life activities include,

   but are not limited to, engaging in one’s employment.

73. Plaintiff has an autoimmune medical condition which is a disability under the

   ADA, as it substantially impairs daily major life activities, affecting his

   mobility and causing pain.

74. Plaintiff is a "qualified individual" under the ADA and performed the

   essential functions of his position admirably for nearly twenty years, and

   during the COVID-19 pandemic, continued to perform his job functions

   remotely from his home office without incident.




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75. Plaintiff has a physical impairment, namely an autoimmune condition, that

   substantially limits one or more major life activities, including daily function

   and employment.

76. In April 2021, Plaintiff provided medical documentation of his disability and

   requested reasonable accommodations, upon solicitation of the same from

   Defendants with regard to COVID-19 safeguards, including continuing to

   work remotely, which had been successfully implemented for over a year.

77. Defendants failed to engage in any interactive process regarding Plaintiff’s

   request for disability accommodations and ultimately ignored the request.

78. In August 2021, Defendants implemented a COVID-19 vaccination mandate,

   requiring all staff to obtain the shots. Plaintiff again provided medical

   documentation of his disability and statement from his doctor requesting

   accommodation from the vaccination mandate and masking.

79. Yet again, Defendants failed to acknowledge Plaintiff’s request for

   accommodation, failed to engage in any interactive process to discuss possible

   accommodations, and ignored the request.

80. Thereafter, Defendants engaged in a campaign of harassment against

   Plaintiff, expressly asking him to leave the Firm.

81. Defendants disciplined Plaintiff twice, including suspension without pay,

   without notice for violations of a policy that had not yet been implemented in


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   the Firm and which was not applicable to his position once applied across the

   office for hourly wage workers.

82. Defendants disparaged Plaintiff in email exchanges expressing alleged

   misconduct by Plaintiff and poor performance with no objective

   substantiation, as he continued to receive performance-based bonuses through

   the relevant period.

83. When Plaintiff refused voluntarily to resign due to the hostile work

   environment created by Defendants due to his disability, Defendants

   unlawfully terminated Plaintiff’s employment on May 16, 2022.

84. Additionally, Defendants engaged in prohibited employment practices when

   it perceived Plaintiff as disabled and unable to complete the functions of his

   job in his medical status and unlawfully terminated his employment on the

   basis of this perception.

85. Defendants’ presumption of Plaintiff's risk in the workplace was not based

   on any reasonable understanding of the facts regarding his ability to perform

   his essential job duties with or without accommodation. Defendants failed to

   make any individualized assessment regarding either Plaintiff's actual

   disability or his perceived disability.

86. Defendants’ unlawful conduct toward Plaintiff constitutes failure to

   accommodate his disability, unlawful termination, discriminatory disparate


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      treatment of Plaintiff due to his disability, and creating a hostile work

      environment against Plaintiff because of his disability.

   87. Defendants’ unlawful discrimination is the direct and proximate cause of

      deprivation of Plaintiff's equal employment opportunities and his economic

      and non-economic damages.

   88. Defendants’ conduct was so willful and wanton and in such reckless

      disregard of Plaintiff's statutory rights as to entitle him to an award of punitive

      damages against Defendants, to deter them and others from such conduct in

      the future.

WHEREFORE, Plaintiff Gordon seeks this Court’s judgment against Defendants for

violation of his rights under the ADA and requests this Court award him damages

for backpay, front pay, compensatory and punitive damages, order Defendants to

remove all discriminatory disciplinary documentation from his personnel file, award

Plaintiff attorney’s fees and costs, and any other such relief as this Court deems just

and proper.


                                     COUNT II
                    Disability Discrimination in Violation of the
                              Florida Civil Rights Act
                             FL Stat. § 760.07, § 760.10

   89. Plaintiff incorporates by reference paragraphs 1-69 and 73-88 as if fully set

      forth herein.

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90. The Florida Civil Rights Act (“FL CRA”) prohibits an employer from

   discriminating against an employee “because of race, color, religion, gender,

   pregnancy, national origin, age, handicap, or marital status in the areas of

   education, employment, or public accommodations.” Fl. Stat. § 760.07.

91. Prohibited employment practices include:

    a.   “(1)(a) To discharge or to fail or refuse to hire any individual, or

         otherwise to discriminate against any individual with respect to

         compensation, terms, conditions, or privileges of employment, because

         of such individual’s race, color, religion, sex, pregnancy, national

         origin, age, handicap, or marital status.”

    b.   “(1)(b) To limit, segregate, or classify employees or applicants for

         employment in any way which would deprive or tend to deprive any

         individual of employment opportunities, or adversely affect any

         individual’s status as an employee, because of such individual’s race,

         color, religion, sex, pregnancy, national origin, age, handicap, or

         marital status.”

    c.   “(2) to fail or refuse to refer for employment, or otherwise to

         discriminate against, any individual because of race, color, religion,

         sex, pregnancy, national origin, age, handicap, or marital status or to

         classify or refer for employment any individual on the basis of race,


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            color, religion, sex, pregnancy, national origin, age, handicap, or

            marital status.”

      Fl. Stat. § 760.10.

   92. Defendants are subject to FL CRA, as an employer “employing 15 or more

      employees for each working day in each of 20 or more calendar weeks in the

      current or preceding calendar year….” Fl. Stat. § 760.02(7).

   93. As set forth in detail in Count I herein, Defendants engaged in prohibited

      employment practices in discrimination against Plaintiff on the basis of his

      disability: refusing to address his accommodation requests to Firm policies,

      harassing him as a result of his request for exemption, creating a hostile

      environment with the purpose of seeking his resignation, and terminating his

      employment.

   94. Defendants’ unlawful discrimination is the direct and proximate cause of

      deprivation of Plaintiff's equal employment opportunities and his economic

      and non-economic damages.

   95. Defendants’ conduct was so willful and wanton and in such reckless disregard

      of Plaintiff's statutory rights as to entitle him to an award of punitive damages

      against Defendants, to deter them and others from such conduct in the future.

WHEREFORE, Plaintiff Gordon seeks this Court’s judgment against Defendants for

violation of his rights under the FL CRA and requests this Court award him damages


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for backpay, front pay, compensatory and punitive damages, order Defendants to

remove all discriminatory disciplinary documentation from his personnel file, award

Plaintiff attorney’s fees and costs, and any other such relief as this Court deems just

and proper.


                                   COUNT III
                        Discrimination On The Basis Of
                  Religious Belief And Practice In Violation Of
                   Title VII Of The Civil Rights Act Of 1964,
              As Amended (“TITLE VII”) 42 U.S.C. §§ 2000e, et seq;

   96. Plaintiff incorporates by reference paragraphs 1-69 as if fully set forth herein.

   97. Title VII (42 U.S.C. § 2000e-2(a)) provides that:

       It shall be an unlawful employment practice for an employer—

              (1) to fail or refuse to hire or to discharge any individual, or
              otherwise to discriminate against any individual with respect to his
              compensation, terms, conditions, or privileges of employment,
              because of such individual’s race, color, religion, sex, or national
              origin; or

              (2) to limit, segregate, or classify his employees or applicants for
              employment in any way which would deprive or tend to deprive
              any individual of employment opportunities or otherwise
              adversely affect his status as an employee, because of such
              individual’s race, color, religion, sex, or national origin.

   98. Religion under the statute “includes all aspects of religious observance and

      practice, as well as belief, unless an employer demonstrates that he is unable to



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   reasonably accommodate to an employee’s or prospective employee’s religious

   observance or practice without undue hardship on the conduct of the employer’s

   business.” 42 U.S.C. § 2000e(j). It is well established in the law that part of

   religious observance and practice may involve refusal of medical treatment and

   vaccination.

99. Plaintiff Gordon was at all times relevant to his claims qualified for his

   position and performing his job functions, to the point of meriting

   performance-based bonus payments and individual bonuses for his work, as

   well as causing Defendants to recruit him back to the Firm after a brief period

   of his voluntary resignation and employment elsewhere between 2013-2015.

100.     Mr. Gordon has sincerely held religious beliefs that conflict with his

   ability to comply with Defendants’ COVID-19 vaccination mandate.

101.         Defendants knew specifically that Plaintiff was a Christian and lived

   according to the principles of his sincerely held religious beliefs.

102.     Plaintiff gave notice to Defendants that his religious beliefs required

   him to seek accommodation against Defendants’ COVID-19 vaccination

   policy.

103.     Defendants       failed   to   acknowledge     Plaintiff’s   request   for

   accommodation, failed to engage in any interactive process to discuss possible

   accommodations, and ignored the request.


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104.    Defendants’ principal partner John Morgan, who expresses his Catholic

  faith openly, demonstrated religious animus toward Plaintiff’s religious

  beliefs through his firm-wide email correspondence comparing those beliefs

  to irrational fears of flying, heights, and ghosts; to dogs afraid of fireworks;

  and to religious beliefs in handling venomous snakes. Mr. Morgan also called

  Plaintiff’s beliefs “reckless” and stated that the practice of those beliefs was

  cursing fellow co-workers.

105.     Thereafter, Defendants engaged in a campaign of harassment against

  Plaintiff, expressly asking him to leave the Firm.

106.     Defendants disciplined Plaintiff twice, including suspension without

  pay, without notice for violations of a policy that had not yet been

  implemented in the Firm and which was not applicable to his position once

  applied across the office for hourly wage workers.

107.     Defendants disparaged Plaintiff in email exchanges expressing alleged

  misconduct by Plaintiff and poor performance with no objective

  substantiation, as he continued to receive performance-based bonuses through

  the relevant period.

108.     When Plaintiff refused voluntarily to resign due to the hostile work

  environment created by Defendants due to his religious beliefs, Defendants

  unlawfully terminated Plaintiff’s employment on May 16, 2022.


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   109.       Defendants’ unlawful conduct toward Plaintiff constitutes failure to

      accommodate his religious beliefs, unlawful termination, discriminatory

      disparate treatment of Plaintiff due to his religious beliefs, and creating a

      hostile work environment against Plaintiff because of his religious beliefs.

   110.       Defendants’ unlawful discrimination is the direct and proximate cause

      of deprivation of Plaintiff's equal employment opportunities and his economic

      and non-economic damages.

   111.       Defendants’ conduct was so willful and wanton and in such reckless

      disregard of Plaintiff's statutory rights as to entitle him to an award of punitive

      damages against Defendants, to deter them and others from such conduct in

      the future.

WHEREFORE, Plaintiff Gordon seeks this Court’s judgment against Defendants for

violation of his rights under Title VII and requests this Court award him damages

for backpay, front pay, compensatory and punitive damages, order Defendants to

remove all discriminatory disciplinary documentation from his personnel file, award

Plaintiff attorney’s fees and costs, and any other such relief as this Court deems just

and proper.




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                                  COUNT IV
                       Discrimination On The Basis Of
                 Religious Belief And Practice In Violation Of
                           Florida Civil Rights Act
                          FL Stat. § 760.07, § 760.10

112.        Plaintiff incorporates by reference paragraphs 1-69 and 98-111 as if

  fully set forth herein.

113.        The Florida Civil Rights Act (“FL CRA”) prohibits an employer from

  discriminating against an employee “because of race, color, religion, gender,

  pregnancy, national origin, age, handicap, or marital status in the areas of

  education, employment, or public accommodations.” Fl. Stat. § 760.07.

114.        Prohibited employment practices include:

       a.   “(1)(a) To discharge or to fail or refuse to hire any individual, or

            otherwise to discriminate against any individual with respect to

            compensation, terms, conditions, or privileges of employment, because

            of such individual’s race, color, religion, sex, pregnancy, national

            origin, age, handicap, or marital status.”

       b.   “(1)(b) To limit, segregate, or classify employees or applicants for

            employment in any way which would deprive or tend to deprive any

            individual of employment opportunities, or adversely affect any

            individual’s status as an employee, because of such individual’s race,




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            color, religion, sex, pregnancy, national origin, age, handicap, or

            marital status.”

       c.   “(2) to fail or refuse to refer for employment, or otherwise to

            discriminate against, any individual because of race, color, religion,

            sex, pregnancy, national origin, age, handicap, or marital status or to

            classify or refer for employment any individual on the basis of race,

            color, religion, sex, pregnancy, national origin, age, handicap, or

            marital status.” Fl. Stat. § 760.10.

115.        As set forth in detail in Count III herein, Defendants engaged in

  prohibited employment practices in discrimination against Plaintiff on the

  basis of his religious beliefs and practices: refusing to address his

  accommodation requests to Firm policies, harassing him and singling him out

  among staff for his religious beliefs as a result of his request for exemption,

  creating a hostile environment with the purpose of seeking his resignation,

  and terminating his employment.

116.        Defendants’ unlawful discrimination is the direct and proximate cause

  of deprivation of Plaintiff's equal employment opportunities and his economic

  and non-economic damages.

117.        Defendants’ conduct was so willful and wanton and in such reckless

  disregard of Plaintiff's statutory rights as to entitle him to an award of punitive


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      damages against Defendants, to deter them and others from such conduct in

      the future.

WHEREFORE, Plaintiff Gordon seeks this Court’s judgment against Defendants for

violation of his rights under the FL CRA and requests this Court award him damages

for backpay, front pay, compensatory and punitive damages, order Defendants to

remove all discriminatory disciplinary documentation from his personnel file, award

Plaintiff attorney’s fees and costs, and any other such relief as this Court deems just

and proper.



                          DEMAND FOR JURY TRIAL

      Plaintiff James Gordon demands trial by jury on all issues so triable.


Filed this 27th Day of February, 2025

                                               Respectfully submitted,

                                               _/S/Rachel L.T. Rodriguez_
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